902 F.2d 28Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Robert Clifton JOHNSON, Jr., Plaintiff-Appellant,v.Phyllis DUVALL, Manager, Social Security Administration,Defendant-Appellee.
    No. 90-7024.
    United States Court of Appeals, Fourth Circuit.
    Submitted April 2, 1990.Decided April 13, 1990.
    
      Appeal from the United States District Court for the District of Maryland, at Baltimore.  Edward S. Northrop, Senior District Judge.  (C/A No. 90-211-N)
      Robert Clifton Johnson, Jr., appellant pro se.
      D.Md.
      AFFIRMED.
      Before ERVIN, Chief Judge, and PHILLIPS and CHAPMAN, Circuit Judges.
      PER CURIAM:
    
    
      1
      Robert Clifton Johnson, Jr., appeals from the district court's order denying relief under 42 U.S.C. Sec. 1983.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.*   Johnson v. Duvall, C/A No. 90-211-N (D.Md. Feb. 5, 1990).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    
      
        *
         To the extent that Johnson is attempting to claim that the denial of his social security benefits resulted from a due process violation, we note that such a contention cannot give rise to a claim for monetary damages against a federal official.   Schweiker v. Chilicky, 487 U.S. 412 (1988)
      
    
    